Case 18-82948-CRJ11   Doc 69     Filed 12/14/18 Entered 12/14/18 11:47:16   Desc Main
                               Document      Page 1 of 11
Case 18-82948-CRJ11   Doc 69     Filed 12/14/18 Entered 12/14/18 11:47:16   Desc Main
                               Document      Page 2 of 11
Case 18-82948-CRJ11   Doc 69     Filed 12/14/18 Entered 12/14/18 11:47:16   Desc Main
                               Document      Page 3 of 11
Case 18-82948-CRJ11   Doc 69     Filed 12/14/18 Entered 12/14/18 11:47:16   Desc Main
                               Document      Page 4 of 11
Case 18-82948-CRJ11   Doc 69     Filed 12/14/18 Entered 12/14/18 11:47:16   Desc Main
                               Document      Page 5 of 11
Case 18-82948-CRJ11   Doc 69     Filed 12/14/18 Entered 12/14/18 11:47:16   Desc Main
                               Document      Page 6 of 11
Case 18-82948-CRJ11   Doc 69     Filed 12/14/18 Entered 12/14/18 11:47:16   Desc Main
                               Document      Page 7 of 11
Case 18-82948-CRJ11   Doc 69     Filed 12/14/18 Entered 12/14/18 11:47:16   Desc Main
                               Document      Page 8 of 11
Case 18-82948-CRJ11   Doc 69     Filed 12/14/18 Entered 12/14/18 11:47:16   Desc Main
                               Document      Page 9 of 11
Case 18-82948-CRJ11   Doc 69 Filed 12/14/18 Entered 12/14/18 11:47:16   Desc Main
                            Document    Page 10 of 11
Case 18-82948-CRJ11   Doc 69 Filed 12/14/18 Entered 12/14/18 11:47:16   Desc Main
                            Document    Page 11 of 11
